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           PSJ3
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Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 2 of 70. PageID #: 388712
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 3 of 70. PageID #: 388713
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 4 of 70. PageID #: 388714
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 5 of 70. PageID #: 388715
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 6 of 70. PageID #: 388716
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 7 of 70. PageID #: 388717
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 8 of 70. PageID #: 388718
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 9 of 70. PageID #: 388719
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 10 of 70. PageID #: 388720
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 11 of 70. PageID #: 388721
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 12 of 70. PageID #: 388722
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 13 of 70. PageID #: 388723
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 14 of 70. PageID #: 388724
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 15 of 70. PageID #: 388725
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 16 of 70. PageID #: 388726
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 17 of 70. PageID #: 388727
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 18 of 70. PageID #: 388728
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 19 of 70. PageID #: 388729
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 20 of 70. PageID #: 388730
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 21 of 70. PageID #: 388731
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 22 of 70. PageID #: 388732
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 23 of 70. PageID #: 388733
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 24 of 70. PageID #: 388734
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 25 of 70. PageID #: 388735
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 26 of 70. PageID #: 388736
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 27 of 70. PageID #: 388737
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 28 of 70. PageID #: 388738
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 29 of 70. PageID #: 388739
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 30 of 70. PageID #: 388740
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 31 of 70. PageID #: 388741
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 32 of 70. PageID #: 388742
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 33 of 70. PageID #: 388743
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 34 of 70. PageID #: 388744
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 35 of 70. PageID #: 388745
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 36 of 70. PageID #: 388746
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 37 of 70. PageID #: 388747
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 38 of 70. PageID #: 388748
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 39 of 70. PageID #: 388749
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 40 of 70. PageID #: 388750
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 41 of 70. PageID #: 388751
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 42 of 70. PageID #: 388752
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 43 of 70. PageID #: 388753
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 44 of 70. PageID #: 388754
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 45 of 70. PageID #: 388755
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 46 of 70. PageID #: 388756
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 47 of 70. PageID #: 388757
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 48 of 70. PageID #: 388758
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 49 of 70. PageID #: 388759
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 50 of 70. PageID #: 388760
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 51 of 70. PageID #: 388761
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 52 of 70. PageID #: 388762
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 53 of 70. PageID #: 388763
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 54 of 70. PageID #: 388764
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 55 of 70. PageID #: 388765
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 56 of 70. PageID #: 388766
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 57 of 70. PageID #: 388767
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 58 of 70. PageID #: 388768
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 59 of 70. PageID #: 388769
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 60 of 70. PageID #: 388770
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 61 of 70. PageID #: 388771
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 62 of 70. PageID #: 388772
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 63 of 70. PageID #: 388773
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 64 of 70. PageID #: 388774
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 65 of 70. PageID #: 388775
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 66 of 70. PageID #: 388776
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 67 of 70. PageID #: 388777
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 68 of 70. PageID #: 388778
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 69 of 70. PageID #: 388779
Case: 1:17-md-02804-DAP Doc #: 2375-1 Filed: 08/14/19 70 of 70. PageID #: 388780
